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Local AO 246B (Rev. 12/2011) Order for a Presentence Investigation and Report


                                     UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Connecticut


                 United States of America                                   )
                            v.                                              )     Case No. 3:17cr41 (JCH)
                                                                            )
                 Eric Smith
                                                                            )
                            Defendant                                       )

                              ORDER FOR A PRESENTENCE INVESTIGATION AND REPORT

         This defendant having been found guilty of one or more offenses against the United States, the probation office
is ordered to conduct an investigation and prepare a (check one) X standard report   modified report, to be used by this
court in sentencing.

IT IS FURTHER ORDERED that:

       At least 42 days before sentencing or                 by 5/11/2018                   , the initial presentence report shall be
  disclosed to counsel.


       Within 14 days after receiving the report or X by 5/25/2018                   , the counsel shall submit to the
   probation office any objections in writing, or a statement that there are no objections.


        No later than 10 days after the deadline for counsel’s objections or X              6/4/2018                          ,
  the probation officer shall submit the final presentence report and any addenda to the court and disclose the revised
  presentence report to the defendant and counsel for the defendant and the government.


Defendant's Sentencing Memo:                  6/8/2018

Government's Response to Sentencing Memo:                     6/15/2018


          The sentencing date (check one)            X is set for     6/22/18 @ 3:00 p.m. .
                                                        will be set at a later date.


        Within 3 days, the probation officer and defense counsel will arrange for a mutually convenient date,
time, and place for the presentence interview.



Date:     4/2/2018                                                     /s/Janet C. Hall
                                                                                               Judge’s signature

                                                                                Janet C. Hall, United States District Judge
                                                                                             Printed name and title
